     Case 3:15-cv-00673-RNC Document 172 Filed 08/30/18 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

MATTHEW D. WILLIAMS                  :
                                     :
      Plaintiff,                     :
                                     :
V.                                   :   CASE NO. 3:15CV0673(RNC)
                                     :
RUSHMORE LOAN MANAGEMENT             :
SERVICES, LLC.,                      :
                                     :
      Defendant.                     :

                                   ORDER

      The parties have reported that this action has been settled in

full. Rather than continue to keep the case open on the docket, the

Clerk is directed to close the file without prejudice to reopening

on or before September 30, 2018.

      If the parties wish to file a stipulation of dismissal (for

approval by the court or simply for inclusion in the court's file),

they may do so on or before September 30, 2018.

      The dates set forth in this order may be extended for good

cause pursuant to a motion filed in accordance with Local Rule 7

(b). So ordered.

      Dated at Hartford, Connecticut this 30th day of August 2018.



                                                 /s/ RNC
                                              Robert N. Chatigny
                                         United States District Judge
Case 3:15-cv-00673-RNC Document 172 Filed 08/30/18 Page 2 of 2




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